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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  BIOGEN INTERNATIONAL GMBH and
  BIOGEN MA, INC.,

                   Plaintiffs,

  v.                                            CIVIL ACTION NO. 1:17CV116
                                                      (Judge Keeley)

  MYLAN PHARMACEUTICALS INC.,

                   Defendant.

        ORDER GRANTING MOTION FOR FINAL JUDGMENT [DKT. NO. 401]

        On June 18, 2020, the defendant, Mylan Pharmaceuticals Inc.

  (“Mylan”), moved for an entry of final judgment under Federal Rule

  of Civil Procedure 54(b) (Dkt. No. 401). Under Rule 54(b), “the

  court may direct entry of a final judgment as to one or more, but

  fewer than all, claims or parties only if the court expressly

  determines that there is no just reason for delay.”

        Because the Court has dismissed the remaining claims involving

  U.S. Patent No. 7,619,001 (Dkt. No. 409), and found that the

  asserted claims of U.S. Patent No. 8,399,514 are invalid for lack

  of written description under 35 U.S.C. § 112 (Dkt. No. 400), no

  claims remain in this case. Accordingly, the Court GRANTS Mylan’s

  Motion and DIRECTS the Clerk to enter a separate judgment order in

  favor of Mylan pursuant to Federal Rule of Civil Procedure 58.1

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          After considering the parties’ supplemental briefs
  (Dkt. Nos. 408, 411), the Court declines to impose a five-day
  notice requirement in advance of Mylan’s anticipated launch. This
  ruling, however, does not preclude the plaintiffs’ right to seek
  injunctive relief under Federal Rule of Civil Procedure 62(d),
  Federal Rule of Appellate Procedure 8(a)(1)(C), and Federal Circuit
  Rule of Practice 8(d).
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  BIOGEN INT’L GMBH, ET AL. V. MYLAN PHARM. INC.                    1:17CV116

        ORDER GRANTING MOTION FOR FINAL JUDGMENT [DKT. NO. 401]

        It is so ORDERED.

        The Court DIRECTS the Clerk to transmit copies of this Order

  to counsel of record.

  DATED: June 22, 2020

                                           /s/ Irene M. Keeley
                                           IRENE M. KEELEY
                                           UNITED STATES DISTRICT JUDGE




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